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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

  UNITED STATES OF AMERICA                      )
                                                )
                                                )     Case No. 1:07CR0002-001
                                                )
  v.                                            )     OPINION AND ORDER
                                                )
  ERIK LEE LARSON,                              )       JUDGE JAMES P. JONES
                                                )
                   Defendant.                   )

       Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
 United States; Nancy Dickenson-Vicars, Assistant Federal Public Defender,
 Abingdon, Virginia, for Defendant.

       Before the court is a Motion for Recusal filed on behalf of the defendant. The

 Motion asks that I recuse myself because one of my recently hired law clerks is a

 former Assistant Federal Public Defender (AFPD) in this district. For the reasons

 that follow, I will deny the Motion.

                                          I.

       The defendant was sentenced by this court in 2008 and is currently serving a

 an additional term of supervised release imposed by judgment dated June 6, 2022.

 The defendant’s probation officer has petitioned the court to revoke this term of

 supervision. A revocation hearing is currently scheduled for February 10, 2023.

       On January 9, 2023, two days after her employment ended with the Federal

 Public Defender’s Office, I hired the law clerk who is the subject of the instant
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 Motion. Prior to her current role, the law clerk served for four years as an AFPD in

 this district. Because of the law clerk’s former employment, I walled her off from

 cases handled by the Federal Public Defender’s Office, forbidding her from being

 involved in any of those matters.

       The next day, on January 10, 2023, the Federal Public Defender currently

 serving this district, Juval O. Scott, emailed a letter to the Chief Judge of this court,

 with a copy to me.1 In that letter, she requested that the Chief Judge transfer to other

 judges all matters assigned to me that involved her office. The Chief Judge

 responded by letter, explaining that my new law clerk was restricted from working

 on any matters handled by the Federal Public Defender’s Office, which avoided a

 conflict of interest and the appearance of such a conflict. Unsatisfied, Ms. Scott

 replied to the Chief Judge, conveying her opinion that the isolation of my law clerk

 was insufficient.

       A few days later the present Motion was filed, along with identical motions in

 eleven other cases.2 It is asserted that the Federal Public Defender’s Office is a

 collaborative environment in which cases are discussed amongst employees and case


       1
           This correspondence is part of the record of the hearing on the present Motion.
       2
           Although the motions and supporting briefs were filed by an assistant federal
 public defender, and the assistant appeared at the hearing on the Motion, the arguments by
 the assistant generally follow the contentions Ms. Scott made in her correspondence with
 the Chief Judge.

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 information is accessible by all. It is alleged that my new law clerk served in a

 leadership capacity within the office until September 2022. In short, it is contended

 that that my law clerk had access to confidential and privileged client information

 and that my employ of her would thus cause a reasonable person to doubt my

 impartiality. Counsel also criticizes the fact that I did not notify Ms. Scott of my

 hiring decision or inform her of the details regarding my law clerk’s role in

 chambers. It is contended that the hiring shortly after the law clerk’s departure from

 the public defender’s office, and without notice, “gives the appearance of a court

 hostile to the federal public defender office.” Def.’s Mem. Supp. 10, ECF No. 156.

 It is not asserted that there might be an appearance of any so-called hostility toward

 the defendant.3

       A hearing on the Motion was held on February 2, 2023, at which the

 government expressed its opposition to the Motion and the other eleven identical

 motions. The government, citing to numerous legal authorities regarding law clerk

 conflicts, contends that a law clerk’s isolation eliminates the appearance of any

 conflict or impartiality.




       3
            It is argued that the Court’s hiring of a former AFPD might cause discomfort to
 clients of the public defender’s office because its lawyers must appear detached from the
 perceived “corrupt system.” Id. at 5.
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                                           II.

       It is argued that 28 U.S.C. § 455(a) mandates recusal. That statute provides

 as follows: “Any . . . judge of the United States shall disqualify himself in any

 proceeding in which his impartiality might reasonably be questioned.” 28 U.S.C. §

 455(a). The same language is echoed in Canon 3(C)(1) of the Code of Conduct for

 United States Judges, reprinted in 175 F.R.D. 363, 368.

       The standard for disqualification is an objective one.         United States v.

 DeTemple, 162 F.3d 279, 286 (4th Cir. 1998). The critical issue is not whether the

 judge is impartial in fact, but whether one “might reasonably question his

 impartiality on the basis of all the circumstances.” Id. (internal quotation marks and

 citation omitted). The hypothetical reasonable person is a well-informed observer

 who assesses all those circumstances. Id. at 286. As the Fourth Circuit has opined,

 judges must be mindful that they may view conflicts as being more harmless than an

 outsider would. Id. Nonetheless, assertions that are “unsupported, irrational, or [that

 amount to] highly tenuous speculation” do not require recusal because Congress did

 not intend for the disqualification statute to give litigants veto power over the

 assignment of judges. Id. (citation omitted).

       Moreover, it is well-established that a law clerk’s conflict is not generally

 imputed to the judge. Id. at 286 n.2. A law clerk does not exercise discretion and

 acts only in service of the supervising judge. Ohio Valley Env’t Coal. v. Fola Coal


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 Co., 120 F. Supp. 3d 509, 514 n.4 (S.D.W. Va. 2015). In other words, “[b]oth bench

 and bar recognize . . . that judges, not law clerks, make the decisions.” In re Allied-

 Signal Inc., 891 F.2d 967, 971 (1st Cir. 1989). Consequently, the isolation of the

 law clerk from the cases in which she has a conflict is usually the proper remedy.

 Worthham v. Karstadtquelle AG (In re Nazi Era Cases), 153 F. App’x 819, 826 (3d

 Cir. 2005) (unpublished); United States v. Reggie, No. 13-111-SDD-SCR, 2014 WL

 1664256, at *2 (M.D. La. Apr. 25, 2014).

       Of course, that is not to say that a judge’s recusal from a case is never required

 when a law clerk’s conflict is at issue. For example, when a law clerk was at one

 point a member of a plaintiff class, had expressed her opinion on the merits of the

 case prior to her work as a clerk, had accepted employment with plaintiffs’ counsel’s

 firm before judgment in the case was rendered, had participated in the pretrial

 proceedings, and had drafted case-related memoranda for the judge, the appearance

 of partiality was present and required recusal. Hall v. Small Bus. Admin., 695 F.2d

 175, 176–77 (5th Cir. 1983). But the present circumstances are very different since

 my law clerk has been walled-off from this case and all other public defender

 matters.4




       4
          These are facts known before the Motion was filed because of Ms. Scott’s
 correspondence with the Chief Judge.
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        Furthermore, this situation creates even less of a basis for an imputable

 conflict than those present in the multitude of cases in which courts have found

 recusal to be unnecessary. DeTemple, 162 F.3d at 286 n.2 (finding that the marriage

 of judge’s law clerk to a prosecutor in the case did not provide a basis for recusal in

 part because the judge ensured the clerk did not work on the case); United States v.

 Martinez, 446 F.3d 878, 883 (8th Cir. 2006) (holding that the district court did not

 abuse its discretion in denying a motion to recuse involving a law clerk who formerly

 prosecuted the case but was screened from the case with the exception of ministerial

 duties); United States v. Ruff, 472 F.3d 1044, 1046–47 (8th Cir. 2007) (denying a

 motion to recuse involving a law clerk who formerly prosecuted the case when judge

 screened the law clerk from his criminal docket and did not allow the law clerk to

 work on the case or to otherwise discuss it).

       I note that many of the opinions to which the defendant cites do not involve

 law clerk conflicts, and for those that do, they belie the defendant’s position.

 DeTemple, 162 F.3d at 286 n.2 (discussed above); Mathis v. Huff & Puff Trucking,

 Inc., 787 F.3d 1297, 1313 (10th Cir. 2015) (finding recusal unnecessary in large part

 because the law clerk with the potential conflict did no substantive work on the case).

       Furthermore, the defendant cites to no authority to support the contention that

 a conflict is created because I did not discuss with Ms. Scott my hiring decision or

 the extent of my law clerk’s role in chambers, nor is it explained how a reasonable


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 and informed observer could interpret my hiring decision as demonstrating hostility

 to the public defender’s office. If there is no conflict, there is no need for informed

 waiver. See 28 U.S.C. § 455(e). As noted, Ms. Scott knew my law clerk would be

 screened from this case prior to the filing of this Motion but considered that fact

 irrelevant.

         Considering the undisputed facts and the overwhelming weight of precedent

 controverting counsel’s arguments, I find it difficult to construe the Motion “as

 anything more than a trivial and tangential waste of judicial resources.” Ohio Valley

 Env’t Coal., 120 F. Supp. 3d at 514 n.4.

                                            III.

       Accordingly, it is ORDERED that the Motion for Recusal, ECF No. 154, is

 DENIED.

                                                   ENTER: February 7, 2023

                                                   /s/ JAMES P. JONES
                                                   Senior United States District Judge




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